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                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                 EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



  MERRICKL.DIXON,

            Plaintiff,

      V.                                                 l:18-cv-00666(LMB/MSN)

  NATIONSTAR MORTGAGE,etal.

            Defendants.



                                    MEMORANDUM OPINION


           Before the Court is defendants' Nationstar Mortgage ("Nationstar") and Mortgage

 Electronic Registration Systems, Inc.("MERS")Motion to Dismiss[Dkt. No. 17] in which they

 argue that plaintiffs Complaint should be dismissed as an impermissible "show-me-the-note"

 claim. Pro se plaintiff Merrick L. Dixon("Dixon")has not responded to defendants' Motion.'

 Finding that oral argument would not further the decisional process, the defendants' Motion to

 Dismiss will be granted without oral argument for the reasons discussed below.

                                         I. BACKGROUND


           In his Complaint, Dixon alleges that defendants Nationstar and MERS fraudulently

 foreclosed on the real property known as 13348 Pelican Road, Woodbridge, Virginia 22193 (the

 "Property"). Compl.[Dkt. No. 1].^ Specifically, he alleges that defendants have made a claim



'Defendants filed their Motion to Dismiss on September 28, 2018 and included a Roseboro
 Notice explaining to plaintiff that any response was due within 21 days and that failure to file a
 timely response could result in defendants' Motion being granted. As ofNovember 7, 2018,
 plaintiff has not responded to the Motion.
 ^ The caption also lists "John and Jane Does 1-10" as defendants, as plaintiff intends to sue
 Nationstar, MERS,"and/or any other party which has, or intends to make claim against this
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